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                                UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF ALABAMA
                                     NORTHERN DIVISION


GAVIN MCINNES,
                                                               CIVIL ACTION NO.
          Plaintiff,                                          2:19-cv-98-MHT-GMB

                       - vs.-

THE SOUTHERN POVERTY LAW
CENTER, INC.,

          Defendant.


          PLAINTIFF’S OPPOSITION TO THE MOTION OF THE AMERICAN CIVIL
       LIBERTIES UNION, THE AMERICAN CIVIL LIBERTIES UNION OF ALABAMA,
         AND THE CENTER FOR CONSTITUTIONAL RIGHTS TO FILE AN AMICUS
           CURIAE BRIEF IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS

          Plaintiff, Gavin McInnes (“Plaintiff”) respectfully files this opposition to the Motion by

The American Civil Liberties Union and The American Civil Liberties Union of Alabama

(together, “ACLU”) and The Center for Constitutional Rights (“Center”) to file an amicus

curiae Brief in support of the Motion of the Southern Poverty Law Center, Inc. (“SPLC”) to

Dismiss the Complaint, pursuant to Fed. R. Civ. P. 12(b)(6) (ECF 17).

          As ACLU and Center (together, “Movants”) declare in their Brief (ECF 18), “[t]he

ACLU and the ACLU of Alabama have frequently appeared before courts throughout the

country in First Amendment cases, both as direct counsel and as amicus curiae.” Movant

Center is also a frequent litigant in such cases. Indeed, , it appears that ACLU and Center

consider themselves entitled to place their thumbs on the scale in any litigation before this Court

that putatively involves the First Amendment, despite the lack of any actual need for their

intervention, the alignment of issues involved, or the burden imposed on the opposing party


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(and this Court). Movants’ sense of entitlement is typified here –where the defendant itself is

essentially a massive, experienced constitutional law firm, that already has the benefit of

distinguished and experienced outside counsel. Certainly, the SPLC is more than adequately

capable of fending for itself and the principles it purports to represent. Finally, it is respectfully

submitted that justice militates against adding three more civil-rights litigation “machines” to

opposite side of the “v” with one, lone individual on the other – particularly at the motion to

dismiss stage.

                                           ARGUMENT

       Leave to permit an amicus brief is “is seldom appropriate at the level of the trial level

where the parties are adequately represented by experienced counsel.” ForestKeeper v. Elliott,

50 F. Supp. 3d 1371, 1380 (E.D. Cal. 2014), citing Ryan. See also, Donovan v. Gillmor, 535 F.

Supp. 154, 159 (N.D. Ohio 1982) (“the Court is of the opinion that counsel for both parties are

more than adequately representing the interests of their clients and that counsel do not need

supplementing assistance”); United States v. Ahmed, 788 F. Supp. 196 (S.D.N.Y.), aff'd, 980

F.2d 161 (2d Cir. 1992) (“In this case, defendant's interests are adequately represented by his

counsel”). Movants cite Ryan v. Commodity Futures Trading Com’n, 125 F.3d 1062, 1063 (7th

Cir. 1997) to the effect that amicus briefs “should normally be allowed when the amicus has an

interest in some other case that may be affected by the decision in the present case . . . or when

the amicus has unique information or perspective that can help the court beyond the help that

the lawyers for the parties are able to provide.” (Emphasis added). Here, Movants have no

“unique information,” the dispute is personal, between Plaintiffs and the SPLC, nor is Movants’

“perspective” “unique” – the SPLC and Movants are all equally (and highly) skilled First

Amendment right “advocates”. Moreover, in Ryan, , the Seventh Circuit actually affirmed the



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district court’s denial of a motion to file an amicus brief. As the Seventh Circuit explained, in

passage whose second half Movants quote:

       The vast majority of amicus curiae briefs are filed by allies of litigants and
       duplicate the arguments made in the litigants' briefs, in effect merely extending
       the length of the litigant's brief. Such amicus briefs should not be allowed. They
       are an abuse. The term “amicus curiae” means friend of the court, not friend of a
       party. United States v. Michigan, 940 F.2d 143, 164-65 (6th Cir.1991). We are
       beyond the original meaning now; an adversary role of an amicus curiae has
       become accepted. Id. at 165. But there are, or at least there should be, limits.
       Cf. New England Patriots Football Club, Inc. v. University of Colorado, 592 F.2d
       1196, 1198 n. 3 (1st Cir.1979). . . .

       The amicus brief [here] does not tell us anything we don't know already. It adds
       nothing to the already amply proportioned brief of the petitioner.

       The bane of lawyers is prolixity and duplication . . . . In an era of heavy judicial
       caseloads and public impatience with the delays and expense of litigation, we
       judges should be assiduous to bar the gates to amicus curiae briefs that fail to
       present convincing reasons why the parties' briefs do not give us all the help we
       need for deciding the appeal.

Ryan, 125 F.3d at 1063. Here, SPLC’s massive submission in support of its motion to dismiss

(including a 60-page Brief and 23-page addendum) is more than “amply proportioned” and

leaves no doubt it is inadequately represented.”

       The Court is aware that SPLC is, essentially, a law firm, and – as is well known – a very

effective one, and one endowed with phenomenal financial resources. SPLC states on its

website that, “[f]or more than four decades, we’ve won landmark cases that brought systemic

reforms in the Deep South. . . . with a staff of more than 100 lawyers and advocates . . . ” SPLC

website, “What we Do: Seeking Justice,” found at https://www.splcenter.org/seeking-justice,

last visited on April 15, 2019. Certainly, an organization that describes itself in such a manner

needs no outside assistance to represent itself adequately in this suit.

       Still, SPLC’s success and resources has not made it shy about engaging extensive

outside assistance. Most recently, SPLC has enhanced its highly capable and abundant in-house


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counsel by engaging the assistance of another firm, namely the Philadelphia-based law firm of

Ballard Spahr to assist in its defense in two other lawsuits that while far from identical to this

one, are substantial similar to it, as reported in a February 5, 2019 article:

       Facing two major lawsuits that assert multiple state and federal claims, including
       allegations that the SPLC has trespassed the Racketeering Influenced and Corrupt
       Organizations (RICO) Act, the leftist hate group has retained a big-hitting
       defamation attorney to defend itself against one of them.

       That regardless, the group’s long reign of terrifying power over the media and
       who gets designated as an “extremist” or “hate group” might be ending. Its own
       extremist views and attacks on mainstream conservatives as “haters” long ago
       wrecked the undeserved reputation it had.
       But now, some of the nearly $500 million it has in the bank might wind up in the
       pockets of its victims.

       Big-time Firm
       PJ Media has reported that the SPLC hired Chad Bowman of the Ballard Spahr
       law giant to fight a lawsuit filed by lawyer Glenn K. Allen, who claims that the
       SPLC and its two top torpedoes, Heidi Beirich and Mark Potok, smeared him as a
       “neo-Nazi.”
       In turn, he alleges, Baltimore City fired him from his job as an independent
       contract attorney. . . .
       The firm for which Bowman toils is a major-league outfit with 650 lawyers in 15
       offices.

R. Cort Kirkwood, “SPLC Hires Top Defamation Attorney to Defendant Against Lawyer’s

Claim,” The New American, Feb. 5, 2019, found at https://www.thenewamerican.com/usnews/

crime/item/31409-splc-hires-top-defamation-attorney-to-defend-against-lawyer-s-claim, last

visited April 15, 2019.

       Although Plaintiff’s claims differ in important respects from those in the other two

lawsuits, all three are predicated on what the article’s author referred to as SPLC’s abusive

“hate” designations. Further, SPLC’s motion to dismiss the comparable claims in those cases

almost identical to its motion here. Plaintiff, in contrast, is represented by a law firm that is

several orders of magnitude smaller than Ballard Spahr, along with a solo practitioner as local

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counsel, and Plaintiff’s financial resources are dwarfed by those of defendant – without even

accounting for how SPLC’s tortious acts, as alleged in the Complaint, have undercut his ability

to support himself, much less to engage in litigation. In short, Plaintiff is already substantially

outgunned in terms of available “hands” and means to prosecute his case.

       In the two months that SPLC has had to prepare its 60-page Brief, 23-page Addendum

and 90-paragraph counsel’s Declaration (with 21 exhibits), SPLC had every opportunity to

include any argument it felt was warranted given the absence of page limitations on submissions

in this Court. It is difficult to believe justice would be served by allowing three more

organizations, each of which is essentially an additional law firm, to pile onto SPLC’s attempt

to rid itself of one man’s four-count lawsuit on the ground of “adequacy.”

       Movants’ application to add to the filings in a case that is not past the pleading stage,

and yoke Plaintiff with the additional burden of answering not one, but two sets of briefs,

should also be denied based on Movants’ unjustifiable delay in bringing this application. In

exercising its discretion to permit an amicus brief under Rule 29, the Court should consider the

delay such a filing would work on the disposition of the matter. Ysleta Del Sur Pueblo v. El

Paso Cty. Water Improvement Dist. No. 1, 222 F.3d 208 (5th Cir. 2000) (granting of motion

would result in needless delay of case's disposition). See also, Peterson v. United States, 41

F.R.D. 131, 135 (D. Minn. 1966) (intervention would only serve to unduly delay the disposition

of the action).

       Here SPLC asked for and was granted sixty (60) days to file and serve its response to the

Complaint – nearly triple the amount of time presumptively set by the Federal Rules of Civil

Procedure. Given the amount of SPLC’s time, and without speculating whether the SPLC,

ACLU and Center -- allied civil rights organizations – exchanged drafts and coordinated the



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timing of their submissions, the Court cannot be asked to believe that it was not until Movants

read and evaluated SPLC’s hundreds of pages of submissions that they decided to request leave

to file an amicus brief, who filed their proposed brief just days later. If Movants had decided, as

they obviously had, to come into this case in support of their longtime comrade-in-arms, SPLC,

they owed a duty of candor to this Court and courtesy to Plaintiff to request permission to do so

when that decision was made. Instead, they chose, presumably for tactical reasons, to phase

their coordinated attacks on the Complaint.

       Finally, Movants argue that their interest in this case is sufficiently enunciated merely

because, as they claim, “this case involves a significant First Amendment issue: the preservation

of a pleading standard in defamation cases that satisfies the First Amendment.” (Movant’s

Motion at 3.) As a threshold matter, Plaintiff disputes Movants’ characterization of the

Complaint. Plaintiff does not ask the Court to change the pleading standard for defamation

cases, but merely to apply that standard to SPLC’s many statements of purported fact. Indeed,

Movants’ characterization of Plaintiff’s claims as ones that would impact the pleading is as

insidious as it is self-serving. Movants’ argument that the Court accept, at face value, their

formulation of this issue as a valid ground for granting the relief they demand, will undoubtedly

cause Movants to characterize this Court’s decision, should it granted such relief, as having

already raised the bar a plaintiff must overcome to maintain a defamation claim in the context

a constitutional challenge – an unjustified shifting of the burden on plaintiff.

       Movants have not identified any special abilities or expertise that is not already available

to the SPLC, as evidence by the sophistication and detail of SPLC’s briefing of the defamation

issue. Movants’ position is simply that they are the ACLU – or are with the ACLU – and the

ACLU always has a place at the table in what it determines to be civil rights litigation in the



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Middle District of Alabama. But it is hard to see how Movants’ participation could be “that of

an impartial friend of the court and not that of an adversary party in interest in the litigation,” as

this Court described an improper amicus role in Wyatt By & Through Rawlins v. Hanan, 868 F.

Supp. 1356, 1360 (M.D. Ala. 1994) (quoting United States v. State of Mich., 940 F.2d 143, 165

(6th Cir. 1991); internal quotation marks omitted). “The amici will not be prejudiced if the court

only considers the parties' briefs in this case.” Maples v. Thomas, No. 5:03-CV-2399-SLB-

MHH, 2013 WL 5350669, at *5 (N.D. Ala. Sept. 23, 2013). For that reason alone, Movants’

belated motion for leave to file an amicus brief in support of SPLC’s motion to dismiss should

be denied.

       WHEREFORE, Plaintiff respectfully requests this Honorable Court deny Movants’

motion for leave to file an amicus brief and to enter all orders necessary to effectuate the denial.

       Respectfully submitted on this the 15th day of April, 2019.




                                                       /s/ G. Baron Coleman
                                                           By: Baron Coleman
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 15, 2019, I will electronically file the foregoing with the
Clerk of Court using the CM/ECF, which will then send a notification of such filing to the
following:

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Shannon Holliday
Copeland, Franco, Screws & Gill, P.A.
P.O. Box 347
Montgomery, AL 36101-0347


                                                      /s/ G. Baron Coleman

                                                              OF COUNSEL




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